       Case 3:01-cr-00066-RV         Document 162        Filed 01/13/09   Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION
UNITED STATES OF AMERICA

       VS                                                         CASE NO.    3:01CR66/RV

KENNETH COLLINS

                                    REFERRAL AND ORDER

Referred to Judge Vinson on 1/12/2009
Type of Motion/Pleading MOTION TO REDUCE SENTENCE PUSUANT TO 18 U.S.C.
3582(c)(2)
Filed by: Defendant              on 12/15/08     Doc. No. 161
( ) Stipulated/Consented/Joint Pleading
RESPONSES:
                                 on              Doc. No.
                                 on              Doc. No.
                                 WILLIAM M. McCOOL, CLERK OF COURT

                                               /s/ J. Marbut
                                               Deputy Clerk

                                               ORDER
Upon consideration of the foregoing, it is ORDERED this 13th    day of
   January                 , 2009, that:
(a) The requested relief is DENIED.
(b) Amendment 706 has no effect upon the defendant’s sentencing
     guideline range.



                                               /s/ Roger Vinson
                                               ROGER VINSON
                                               SENIOR UNITED STATES DISTRICT JUDGE




Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                                Document No.
